      Case 2:99-cr-00433-WBS-AC Document 865 Filed 06/20/07 Page 1 of 2




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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10                                 ----oo0oo----
11   UNITED STATES,
                                            NO. CR-S-99-0433 WBS
12              Plaintiff,                      CV-S-07-1162 WBS
13    v.
14   SON VAN NGUYEN,                               ORDER
15
                Defendant and Movant.
16
17                                 ----oo0oo----
18              Defendant, SON VAN NGUYEN, has filed the following
19   motions:
20              1.     Application to Proceed in Forma Pauperis By a
21                     Prisoner;
22              2.     Motion for Recluse (sic);
23              3.     Movant's First Request Motion for Release of
24                     Sealed Documents;
25              4.     Motion for Appointment of Counsel;
26              5.     Motion Under U.S.C. 2255.
27              The United States Attorney shall file a response to
28   each of these motions on or before July 20, 2007.         Defendant
      Case 2:99-cr-00433-WBS-AC Document 865 Filed 06/20/07 Page 2 of 2




 1   shall file his replies, if any, on or before August 4, 2007.
 2   The matters will then be taken under submission.
 3              IT IS SO ORDERED.
 4   DATED:   June 19, 2007
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